     Case 8:10-cv-01787-AG-RZ Document 11 Filed 12/30/10 Page 1 of 2 Page ID #:36



 1
     Debbie P. Kirkpatrick, Esq. (SBN 207112)
 2   Sondra R. Levine, Esq. (SBN 254139)
     SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 3   1545 Hotel Circle South, Ste 150
 4   San Diego, CA 92108
     Tel: 619/758-1891
 5   Fax: 619/296-2013
 6   dpk@sessions-law.biz
     slevine@sessions-law.biz
 7

 8
     Attorneys for Defendant NCO Financial Systems, Inc.

 9                             UNITED STATES DISTRICT COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11

12
                                          SOUTHERN DIVISION

13   ROSALINDA FERNANDEZ,                                )       Case No. SACV10-01787-AG (RZx)
                                                         )
14
                          Plaintiff,                     )       DEFENDANT, NCO FINANCIAL
15                                                       )       SYSTEMS, INC.’S RULE 7.1 (a)
            vs.                                          )       CORPORATE DISCLOSURE
16
                                                         )       STATEMENT
17   NCO FINANCIAL SYSTEMS, INC.                         )
                                                         )
18
                          Defendant.                     )
19                                                       )
20
            NOW INTO COURT, through undersigned counsel, comes Defendant, NCO
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22   Financial Systems, Inc. (“NCO”), which, pursuant to 7.1(a) and (b) of the Federal Rules
23
     of Civil Procedure, hereby submits its Corporate Disclosure Statement and states as
24
     follows:
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26          1.     Fed. R. Civ. P. 7.1(a) provides: “A nongovernmental corporate party to an
27
     action or proceeding in a district court must file two copies of a statement that identifies
28

                        Defendant NCO Financial Systems, Inc.’s Corporate Disclosure Statement

                                                             1
     Case 8:10-cv-01787-AG-RZ Document 11 Filed 12/30/10 Page 2 of 2 Page ID #:37



 1
     any parent corporation and any publicly held corporation that owns 10% or more of its
 2
     stock or states that there is no such corporation.”
 3

 4          2.     NCO Financial Systems, Inc., a Pennsylvania corporation, and NCO

 5   Holdings, Inc., a Delaware corporation, are wholly owned by JDR Holdings, Inc., also a
 6
     Delaware corporation. JDR Holdings, Inc. is wholly owned by Compass International
 7

 8
     Services Corporation, a Delaware corporation. All of the above-mentioned corporations

 9   are wholly owned by NCO Group, Inc, a privately held corporation incorporated in
10
     Delaware. Various corporate affiliates of Citigroup Inc. own approximately 7% of NCO
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12
     Group, Inc. stock. One Equity Partners and its corporate affiliates, which are affiliates of

13   JP Morgan Chase & Co., own approximately 88% of NCO Group, Inc. stock.
14

15
     Dated: December 30, 2010                SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
16

17
                                             /s/ Sondra R. Levine
18                                           _____________________________
                                             Sondra R. Levine
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                                             Attorneys for Defendant NCO Financial Systems, Inc.
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                         Defendant NCO Financial Systems, Inc.’s Corporate Disclosure Statement

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